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          IN THE UNITED STATES DISTRICT COURT
        FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
                    NORTHERN DIVISION

                                                        EXHIBIT 19
   ANGELA RUSSELL, AS ADMINISTRATRIX
   OF THE ESTATE OF JEREMY T. RUSSELL
   AND ON BEHALF OF THE WRONGFUL DEATH
   BENEFICIARIES OF JEREMY T. RUSSELL,

                                            PLAINTIFF,
        V.
                             CASE NO.3:22-cv-294-HTW-LGI

   MANAGEMENT & TRAINING CORPORATION; et al.,
                                  DEFENDANTS.



        ****************************************
             DEPOSITION OF MARK WEBB, M.D.
        ****************************************
           Taken at the office of Dr. Mark Webb
                576 Highland Colony Parkway
                  Ridgeland, Mississippi,
                on Tuesday, July 18, 2023,
           beginning at approximately 1:00 p.m.




             ***********************************

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1    the speed of the boxes at the pizza place and
2    that he was working in his mother's -- hotel his

3    mother worked at.         But, hey, that's a good start.

4    And I've got other schizophrenic patients and
5    drug-addict patients who are able to work some.

6    So that sort of fits.
7        Q      You say, "After being reincarcerated in
8    2021 he talked to MDOC Mental Health --" that

9    would be medical people "-- about hearing voices
10   and having suicidal thoughts."

11              And were those in the context of

12   situations where he reported using drugs?
13       A      Uncertain.       Uncertain.

14       Q      You don't know that?

15       A      I don't.

16       Q      You can't, as you sit here today, you

17   can't point to any place in the record where he

18   did that outside the context of admittedly using
19   drugs?

20       A      Whether that's true or not also.                  Yeah,

21   I couldn't -- I would have to spend some time and

22   look.    Those are good questions.          Again, as Ms.

23   Dunn talked about, he's a poor historian.                    So

24   every time he admits to something, we're not

25   quite so sure.      I mean, we could take it at face

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1    value if we want, but I wouldn't.
2        Q      All right.       So it says in June 2021,

3    Mr. Russell was sent to the local hospital due to

4    an altered mental status and confusion.                Now,
5    that was, again, drug use, correct, according to

6    the records?
7        A      Allegedly, again, allegedly if the
8    statements were true, I think drug use was, to

9    use you words, were amiss/around.             I'm not sure
10   if it's the cause or the result.

11       Q      All right.       Do you recall whether in

12   that circumstance the hospital, the local
13   hospital actually diagnosed him as a drug

14   overdose or drug use?

15       A      Those words are mentioned.            Again, I

16   would want to know where they got that history

17   from.   Is it from him?        Is it from drug test,

18   etcetera.
19       Q      Then you say, "He was again

20   unresponsive in July 2021."           And in that case

21   again, it was not again self-reported drug use?

22       A      Allegedly drug use, yes.

23       Q      And you say, "In September '21 he was

24   found to have psychosis along with

25   schizophrenia."      And I think you mentioned Dr.

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1    photograph was taken from?
2        A      Either inside of the -- I think it's

3    inside of cell looking out or inside of the tower

4    room looking out.         I think it's inside of the --
5    I'm not sure exactly which one it is.

6        Q      I will represent to you, and I'm sure
7    Grafton won't have any problem, that this was
8    taken inside of Jeremy Russell's cell facing as

9    far as toward the control tower unit as you can
10   see.

11       A      Got you.       That was my first thought,

12   yes.
13       Q      Okay.    And this goes to questions

14   earlier in the report, but I will skip over to

15   the last paragraph of Page 5.

16       A      Yes.

17       Q      And specifically the last sentence

18   said, "Had the camp support control room been
19   manned as required by MTC, Mr. Russell would

20   have, more likely than not, refrained from

21   attempting completing the act of suicide."

22              How does that opinion flesh with

23   looking at this photograph?

24       A      That hearing from Mr. Green and Mr.

25   Hunter what's usual and customary is that they

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1    talk about who's in there or not in there, that
2    he would have known -- that he would have had

3    knowledge that there was nobody there and would

4    have been unimpeded with the suicide attempt.
5               But do I have the specifics that

6    anybody told Mr. Russell?          I do not, but we heard
7    from the depositions what is usual and customary.
8        Q      But neither of those inmates testified

9    that they specifically told Mr. Russell that the
10   control unit was unmanned the morning of

11   October 7, 2021?

12       A      Neither one of them told Mr. Russell.
13   Is that what you're asking?

14       Q      Correct.

15       A      Correct.       I mean, the expert report

16   says it was unmanned.         I don't know if they

17   specifically told Mr. Russell.

18       Q      Okay.    And since it's part of your
19   opinion, wouldn't you agree it would be very hard

20   to see inside that control unit from Mr.

21   Russell's cell that he was in on October 7, 2021?

22       A      Yes, that would be hard.           I was relying

23   on the information from Mr. Green and Mr. Hunter

24   that they would talk.

25       Q      They would talk?

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1        A      No.    That's VitalCore.
2        Q      In the last paragraph, obviously it is

3    directed to MTC.

4        A      Sure.
5        Q      The first sentence talks about the camp

6    support unit not being observed at the time Mr.
7    Russell placed the ligature around his neck.                  And
8    then it says, "And there is significant evidence

9    that Jeremy knew this."          Can you tell me what the
10   significant evidence is that you have to support

11   that statement is?

12       A      Just from the depositions and what I
13   read, it was the usual and customary situation in

14   that inmates talk.

15       Q      Nothing else, though?

16       A      Nothing else.       And just my time in

17   correctional systems and that inmates know a lot

18   of what's going on.
19       Q      Right.    The next sentence says, "This

20   is because at least some of the inmates in camp

21   support can see inside the control room.                And

22   every time security was absent, inmates would

23   talk about the fact security was not there."

24   Nobody testified that every time they talked

25   about that, did they?

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1               MR. BRAGG:       Objection.
2               THE WITNESS:       That's true.

3    BY MR. GARNER:

4        Q      And the last sentence of that last
5    paragraph on Page 5 says, -- I guess ultimately

6    your conclusion here, "Had the camp support
7    control room been manned as required by MTC and
8    MDOC, Mr. Russell would have more likely than not

9    refrained from attempting and completing the act
10   of suicide."     Tell me basis of your opinion on

11   that as to that sentence.

12       A      That Mr. Russell, if you take
13   everything that he says into account about what

14   his mother said that he was suicidal that day,

15   the day before, he had recent suicide issues,

16   just got off suicide watch, he was in s single

17   cell with a bedsheet, with property, was banging

18   on the door allegedly saying he was suicidal.
19   Taking all that into account, if all that is

20   true, that he was a set-up for suicide.                But he's

21   been stopped before by MTC and VitalCore for

22   years because somebody else was around.                This

23   time there was nobody around, and he was not

24   stopped.

25       Q      Is it your opinion that the mere

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1    presence of someone in that control unit would
2    have prevented Jeremy Russell from taking his

3    life on the day of October 7, 2021?

4        A      It's less likely -- yes.           It's less
5    likely that he would have killed himself if he

6    knew he was going to be interrupted, or attempt
7    to kill himself if he knew he was going to be
8    interrupted.

9        Q      How long does -- when someone makes the
10   decision -- in your professional opinion, having

11   dealt with suicidal patients before, how long

12   does it take someone to complete the act of
13   hanging themselves?

14       A      Not very long.

15       Q      And, again, you can't tell me how often

16   an officer should or shouldn't have been in that

17   dayroom at any given time in that camp support

18   unit, correct?
19       A      Correct.       I don't know the dayroom

20   policy, correct.

21       Q      Okay.    On your conclusions on Page 6,

22   that first paragraph under conclusions, that's

23   not related to MTC, correct?

24       A      Doesn't appear, no.

25       Q      And the same thing with regard to the

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1    that.
2         Q     Upwards of how long might it take an

3    unperfect or imperfect hanging?

4         A     Well, they could survive it.             Or, you
5    know, you read about people being seen and pulled

6    down.    I guess -- I don't know.           I don't know.
7    But all the way from 13 seconds to they survive,
8    however length what time that is.

9         Q     Yeah.    And there's no way to know --
10   and it sounds morbid to talk about the perfect

11   hanging or perfect suicide, I understand.

12        A     Right.
13        Q     I'm not trying to be insensitive to

14   anybody about that.

15        A     Right.

16        Q     But whether this was perfect or not, it

17   did have the desired end result if that's what

18   Jeremy Russell was trying to do, correct?
19        A     That's true.

20        Q     Okay.

21        A     Yeah, Opinion 3, I would agree with

22   that.    You know, were the drugs part of the --

23   the illicit drugs part of the suicide or not.

24   It's could be the psychiatric illness.                Lots of

25   schizophrenics kill themselves.             Lots of drug

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1    addicts kill themselves.          So it's hard to know.
2         Q     So it would be impossible to give an

3    opinion on that to a reasonable degree of medical

4    certainty?
5         A     To a reasonable degree of medical

6    certainty, it's probably a little combination of
7    both.    And I wouldn't know about the rates of
8    pay.

9         Q     Yeah.
10              MR. GARNER:       That's all I have.

11                      FURTHER EXAMINATION

12   BY MR. CHASE:
13        Q     I have just a few more questions to

14   follow up.     Some things that Mr. Garner said

15   prompted me to consult my notes again.

16        A     Sure.

17        Q     I noted that you said that one of the

18   things you relied on in your supplemental report
19   was the contract between VitalCore and MDOC.                   And

20   if you would, tell me what in that contract

21   impacted your opinion and how.

22        A     Just trying to understand where one

23   began and one ended.         I'm not saying that I

24   completely understood it, but that was trying to

25   figure out, like they were talking about, you

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